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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DISTRICT

 UNITED STATES OF AMERICA,

       Plaintiff,                                       Case No. 8:21-cv-00102-SCB-AEP

 vs.

 MIHIR TANEJA,

      Defendant.
 __________________________________

                                     MEDIATION REPORT

         In accord with the mediation order, mediation occurred on June 12, 2023.

         (a)         The following individuals, parties, corporate representatives, and claims

 professionals attended and participated in the mediation conference, and each

 possessed the requisite settlement authority:

                                 All individual parties and their respective trial counsel.

                                 Designated corporate representatives.

               n/a                Required claims professionals.

         (b)       The following individuals, parties, corporate representatives, and claims

 professionals failed to appear or participate: None.

         (c)       The result of the mediation:
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                        The action completely settled. In accord with Local
                        Rules 3.08 and 9.06(b), lead counsel must notify the
                        Court of settlement within ten days of the mediation
                        by filing a notice or memorandum of agreement
                        signed by the parties and the Mediator.

                        Comments:

      ______            The action partially resolved. Lead counsel must
                        file within ten days a joint stipulation resolving the
                        settled claims. The following issues remain:

                        Comments:

      __ ___           The action neither settled nor failed to settle.

                        Comments: The parties concluded to adjourn,
                        rather than impasse, the mediation, so as to
                        permit the parties and counsel to continue
                        discussions which began at the mediation
                        conference, with the assistance of the mediator.
                        Those additional discussions pursuant to the
                        mediation conference will conclude on or before
                        June 23, 2023. Accordingly, no later than June 27,
                        2023, the undersigned mediator shall file with the
                        Court a Supplemental Mediator’s Report.

                        The parties failed to settle.




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 Reported on June 13, 2023, in Tampa, Florida.

                                       /s/ Christopher L. Griffin
                                      Christopher L. Griffin, Mediator
                                      Florida Mediator Number 35934R
                                      Griffin Mediation, LLC
                                      4006 S. MacDill Avenue
                                      Tampa, FL 33611
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 cc: Counsel of record (via CM/ECF)




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